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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


OFFICER JOHN DOE POLICE OFFICER           *     CIVIL ACTION 16-742-BAJ-RLB
                                          *
VERSUS                                    *     CHIEF JUDGE
                                          *     BRIAN A. JACKSON
DeRAY MCKESSON; and                       *
BLACK LIVES MATTER                        *     MAG. JUDGE
                                          *     RICHARD L. BOURGEOIS, JR.
******************************************************************************

            DERAY MCKESSON’S RESPONSES TO PLAINTIFF’S SECOND
              INTERROGATORIES AND REQUEST FOR PRODUCTION

       Defendant, DeRay McKesson, responds to the Second Interrogatories and Request for

Production propounded by Plaintiff, as follows:

                                   GENERAL OBJECTIONS

       1.      To the extent that any interrogatory or request for production requests information

subject to a claim of privilege or other protection, including, without limitation, the attorney-

client privilege, the work product or anticipation of litigation doctrines, or rule of confidentiality

provided by law, plaintiff objects to the interrogatory or request for production on those grounds

and claims such privilege or doctrinal protection. Moreover, the production of any protected

information pursuant to the interrogatory or request for production is inadvertent and without

prejudice to defendant’s right later to object that such information is protected and that

production of such information was inadvertent.

       2.      Defendant further objects to any interrogatory or request for production to the

extent that it seeks disclosure of information or documents where such disclosure would violate

the privacy rights of individuals, confidentiality agreements, governmental regulations, or court




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orders restricting the disclosure of information. Moreover, the production of any protected

information or document pursuant to the interrogatory or request for production is inadvertent

and without prejudice to defendant’s rights later to object that such information or document is

protected and that its production was inadvertent.

       3.      In responding to these interrogatories or requests for production, defendant does

not waive and specifically reserves all general and specific objections. Additionally, defendant

does not concede by responding that the information sought or provided is relevant to the subject

matter of this action or is calculated to lead to the discovery of admissible evidence. Nor shall

the production of any information be construed as an admission by defendant that said

information is relevant, material, authentic, or otherwise admissible as evidence. Defendant

expressly reserves the right to object to further discovery and to the subject matter of these

interrogatories or requests for production as well as to the introduction into evidence of any

responses to these interrogatories or requests for production.

       4.      These General Objections apply to every response provided hereafter, as if set

forth fully in each specific response.

                            ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

       Please identify all methods that Mr. DeRay McKesson communicated to members,

organizers or other persons regarding protests and with regard to Black Lives Matter.

ANSWER TO INTERROGATORY NO. 1:

       Mr. Mckesson objects to Interrogatory No. 1 because all of his communications about all

protests and about the Black Lives Matter movement in general are irrelevant to the claims and

defenses in this matter and disproportional to the needs of the case, which involves a single



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protest in Baton Rouge on July 9, 2016. Mr. Mckesson also objects to Interrogatory No. 1 as

vague. Subject to these objections, Mr. Mckesson communicated about protests and the Black

Lives Matter movement through personal conversations, telephone, email, text message, Twitter,

and Facebook.

INTERROGATORY NO. 2:

          For each time that you have been arrested, please provide:

             1) The date(s);

             2) The address and location as to the city and state;

             3) The charges;

             4) The arresting agency;

             5) Identify other persons arrested with you; and

             6) The disposition of charges.

ANSWER TO INTERROGATORY NO. 2:

          Mr. Mckesson was arrested by the St. Louis Police Department in St. Louis, Missouri in

April 2015. Mr. Mckesson believes he was arrested for trespassing but is unsure of the exact

charge, and he believes the charge was dismissed. Mr. Mckesson was arrested with Johnetta

Elzie.

          Mr. Mckesson was arrested by the Baton Rouge Police Department on July 9, 2016 for

obstructing a roadway. Those charges were also dismissed. Numerous other people were

arrested at the same time as Mr. Mckesson, but he does not know those individuals.

INTERROGATORY NO. 3:

          For each protest and/or demonstration in which you have participated in any manner,

please provide:



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           1) The date(s), address and location as to city, state;

           2) The purpose of the demonstration or protest;

           3) Your involvement;

           4) Identify any person who paid or tendered any money to you related to or

               regarding the protest and/or demonstration;

           5) Explain why you were there and over what dates including, for whom, for what

               reason, when, and where; and

           6) The name of any person or entity that provided you with any financial assistance

               in attending the protest or demonstration.

ANSWER TO INTERROGATORY NO. 3:

       Mr. Mckesson objects to Interrogatory No. 3 because he has attended hundreds of

protests, and all of these protests are not relevant to the claims and defenses in this matter and are

not proportional to the needs of the case, which involves a single protest in Baton Rouge on July

9, 2016. Subject to these objections, Mr. Mckesson has attended hundreds of protests to bring

awareness to unjust killings by police.

INTERROGATORY NO. 4:

       If you played any role in the organization of the protest or demonstration, please explain.

ANSWER TO INTERROGATORY NO. 4:

       Mr. Mckesson objects to Interrogatory No. 4 as vague. To the extent that Interrogatory

No. 4 seeks information about every protest that Mr. Mckesson attended, Mr. Mckesson also

objects to Interrogatory No. 4 as irrelevant to the claims and defenses in this matter and

disproportional to the needs of the case, which involves a single protest in Baton Rouge on July




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9, 2016. Subject to these objections, Mr. Mckesson did not play any role in organizing the

protest that took place in Baton Rouge on July 9, 2016.

INTERROGATORY NO. 5:

       How did you learn of and notify others of the protest or demonstration?

ANSWER TO INTERROGATORY NO. 5:

       Mr. Mckesson objects to Interrogatory No. 5 as vague. To the extent that Interrogatory

No. 5 seeks information about every protest that Mr. Mckesson attended, Mr. Mckesson also

objects to Interrogatory No. 5 as irrelevant to the claims and defenses in this matter and

disproportional to the needs of the case, which involves a single protest in Baton Rouge on July

9, 2016. Subject to these objections, Mr. Mckesson learned of the July 9, 2016 protest in Baton

Rouge through social media and posted about the protest on Twitter.

INTERROGATORY NO. 6:

       If you are familiar with the term #GoHomeDeRay, please provide:

           1) Your understanding of why the term was being used;

           2) The purpose of the term; and

           3) The City where the term was used.

ANSWER TO INTERROGATORY NO. 6:

       Mr. Mckesson’s understanding of the hashtag “#GoHomeDeray” is that is was used by

individuals who did not want him to protest in Charleston, South Carolina after a church

shooting on in June 2015 in which nine people were killed.

INTERROGATORY NO. 7:

       With regard to your being in Baton Rouge, Louisiana on July 9, 2016, please provide:

           1) The reason why you were in Baton Rouge on July 9, 2016;



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               2) Please explain how you learned there would be a protest in Baton Rouge on July

                  9, 2016, including the medium, person who advised you, and

               3) Please explain all efforts you made to notify any other person that there was a

                  protest in Baton Rouge on July 9, 2016.

ANSWER TO INTERROGATORY NO. 7:

        Mr. Mckesson was in Baton Rouge, Louisiana on July 9, 2016 to protest the killing of

Alton Sterling by police and to bring awareness to unjust killings by police. Mr. Mckesson

learned about the protest on Twitter. Mr. Mckesson posted on Twitter that he would be attending

the protest.

INTERROGATORY NO. 8:

        Please provide each source of all funding for food, travel and lodging, which you

received for the purpose of being in Baton Rouge on July 9, 2016, please identify:

               1) The source of the funding;

               2) The manner in which you received the funding;

               3) Whether you kept an expense sheet for expenses; and

               4) How you were paid, when and by whom.

ANSWER TO INTERROGATORY NO. 8:

        Mr. Mckesson did not receive any funding from any source for the purpose of being in

Baton Rouge on July 9, 2016.

INTERROGATORY NO. 9:

        Please identify all employers and all sources of funding for the year 2016.




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ANSWER TO INTERROGATORY NO. 9:

       In 2016, Mr. Mckesson was employed by the Baltimore School District. He did not

receive any other source of funding in 2016.

INTERROGATORY NO. 10:

       With regard to your being at the Baton Rouge Police Department on July 9, 2016.

           1) Who directed you to be in Baton Rouge on July 9, 2016, on Airline Hwy;

           2) Why were you there;

           3) Identify the persons with you; and

           4) Identify each person who played a role in organizing the protest in Baton Rouge

              on July 9, 2016.

ANSWER TO INTERROGATORY NO. 10:

       Nobody directed Mr. Mckesson to be in Baton Rouge on July 9, 2016 on Airline

Highway. Mr. Mckesson was aware of the protest through social media and attended to bring

awareness to the unlawful killing of Alton Sterling by the police. Johnetta Elzie, Brittany

Packnett, Jamira Burley, and Sharonda Bossier were with Mr. Mckesson. Mr. Mckesson does

not know who organized the protest in Baton Rouge on July 9, 2016.

INTERROGATORY NO. 11:

       With regard to your being in Baton Rouge on July 9, 2016:

           1) Please explain how did you came to Baton Rouge;

           2) Identify the persons with whom you traveled and resided;

           3) Identify with whom and the location where you were housed or resided during the

              time that you were in Baton Rouge in July 2016; and

           4) When did you arrive and when did you leave.



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ANSWER TO INTERROGATORY NO. 11:

       Mr. Mckesson flew to Baton Rouge from Baltimore, Maryland on July 8, 2016. He

stayed at the residence of a friend of Johnetta Elzie but does not know the address. As best as he

can recall, Mr. Mckesson left Baton Rouge on July 11 or 12, 2016.

INTERROGATORY NO. 12:

       Please explain your participation in the Ferguson protests and identify the person or

entity who paid for you to be in Ferguson.

ANSWER TO INTERROGATORY NO. 12:

       Mr. Mckesson attended the Ferguson protests to bring attention to unjust killings by

police. No person or entity paid for him to be in Ferguson. Mr. Mckesson received some

payments through crowdfunding on Paypal, and Mr. Mckesson paid for the rest of his expenses

himself.

INTERROGATORY NO. 13:

       Please describe the actions you took on and after July 5, 2015, shooting of Alton Sterling,

which led to your traveling to Baton Rouge, Louisiana.

ANSWER TO INTERROGATORY NO. 13:

       After Mr. Mckesson learned of the police shooting of Alton Sterling, he posted about the

shooting on Twitter to bring awareness to unjust killings by police. Mr. Mckesson traveled to

Baton Rouge after learning through social media that there would be a protest on July 9, 2016.

INTERROGATORY NO. 14:

       Please explain why you were in Baton Rouge, on Saturday, July 9, 2016.




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ANSWER TO INTERROGATORY NO. 14:

           Mr. Mckesson was in Baton Rouge on Saturday, July 8, 2019 to protest the police

shooting of Alton Sterling and bring awareness to unjust killings by police.

INTERROGATORY NO. 15:

           Please explain how you learned that a protest was set in Baton Rouge on Saturday, July 9,

2016.

ANSWER TO INTERROGATORY NO. 15:

           Please see response to Interrogatory No. 13.

INTERROGATORY NO. 16:

           Please identify all persons that you notified that a protest would be held in Baton Rouge

on July 9, 2016.

ANSWER TO INTERROGATORY NO. 16:

           Mr. Mckesson did not notify any specific individuals that a protest would be held in

Baton Rouge on July 9, 2016. Mr. Mckesson learned through social media that a protest would

be held in Baton Rouge on July 9, 2016 and posted on Twitter that he would be attending the

protest.

INTERROGATORY NO. 17:

           Please provide your whereabouts during all times from July 1 – 10, 2016.

ANSWER TO INTERROGATORY NO. 17:

           Mr. Mckesson objects to Interrogatory No. 17 as irrelevant to the claims and defenses in

this matter and disproportional to the needs of the case, which involves a single protest in Baton

Rouge on July 9, 2016. Subject to this objection, Mr. Mckesson arrived in Baton Rouge,




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Louisiana on July 8, 2016, was in Baton Rouge on July 9, 2016, and was in Baton Rouge on July

10, 2016.

INTERROGATORY NO. 18:

        Please explain your involvement in planning the protest in Baton Rouge set for July 9,

2016, including identifying all persons involved.

ANSWER TO INTERROGATORY NO. 18:

        Mr. Mckesson had no involvement in planning the protest in Baton Rouge set for July 9,

2016.

                     RESPONSE TO REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

        Please produce the work schedule and/or diary of Mr. DeRay McKesson for 2016.

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

        Mr. Mckesson objects to Request for Production No. 1 as irrelevant to the claims and

defenses in this matter and disproportional to the needs of the case, which involves a single

protest in Baton Rouge on July 9, 2016.

REQUEST FOR PRODUCTION NO. 2:

        Please produce all videos and photographs in your care, custody or control of you at a

protest in 2016.

RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

        Mr. Mckesson objects to Request for Production No. 2 as irrelevant to the claims and

defenses in this matter and disproportional to the needs of the case, which involves a single

protest in Baton Rouge on July 9, 2016. Subject to this objection, Mr. McKesson posted a live




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stream of the protest in Baton Rouge on July 9, 2016 on Twitter. Mr. Mckesson believes that

live stream is still publicly available on Twitter and is attempting to retrieve it.

REQUEST FOR PRODUCTION NO. 3:

        Please produce all videos and photographs in your care, custody or control of you at a

Black Lives Matter gathering in 2016.

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

        Mr. Mckesson objects to Request for Production No. 2 as irrelevant to the claims and

defenses in this matter and disproportional to the needs of the case, which involves a single

protest in Baton Rouge on July 9, 2016. Subject to this objection, please see response to Request

for Production No. 2.

REQUEST FOR PRODUCTION NO. 4:

        Please produce copies to your online newsletter for the year 2016.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

        Mr. Mckesson did not publish an online newsletter in 2016.

REQUEST FOR PRODUCTION NO. 5:

        Or speaking on behalf of or at a gathering related to Black Lives Matter.

RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

        Mr. Mckesson objects to Request for Production No. 5 as vague. To the extent that

Request for Production No. 5 seeks information about every gathering related to Black Lives

Matter at which Mr. Mckesson has spoken, Mr. Mckesson also objects to Request for Production

No. 5 as irrelevant to the claims and defenses in this matter and disproportional to the needs of

the case, which involves a single protest in Baton Rouge on July 9, 2016.




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REQUEST FOR PRODUCTION NO. 6:

       Please produce all text, email, twitter, facebook or other electronic communications

concerning the time period of July 1 – 9, 2016.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

       Mr. Mckesson objects to Request for Production No. 6 as irrelevant to the claims and

defenses in this matter and disproportional to the needs of the case, which involves a single

protest in Baton Rouge on July 9, 2016. Subject to this objection, Mr. Mckesson’s tweets during

this time period are publicly available on Twitter. Mr. Mckesson will also produce any texts or

emails in which he discussed his attendance at the protest in Baton Rouge on July 9, 2016.

REQUEST FOR PRODUCTION NO. 7:

       Please produce your tax return for July 2016.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

       Mr. Mckesson objects to Request for Production No. 6 as irrelevant to the claims and

defenses in this matter and disproportional to the needs of the case, which involves a single

protest in Baton Rouge on July 9, 2016.




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REQUEST FOR PRODUCTION NO. 8:

       Please produce and (sic) receipts that you turned in for any protest activities in July 2016,

and the accounting of what was charged and what was paid.

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       No such documents exist.

                                             Respectfully submitted,

                                             /s/ William P. Gibbens
                                             William P. Gibbens, 27225
                                             SCHONEKAS, EVANS, McGOEY
                                             & McEACHIN, LLC
                                             909 Poydras Street, Suite 1600
                                             New Orleans, Louisiana 70112
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                                             Attorney for Defendant, DeRay McKesson



                                CERTIFICATE OF SERVICE

       I do hereby certify that on November 12, 2023, I delivered the forgoing document to the

opposing counsel via ___ U.S. Mail, XX email and/or ___ facsimile transmission.

                                             /s/ William P. Gibbens
                                             WILLIAM P. GIBBENS




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